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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    No. 4:14CR00010-09 JLH

IVORY LAMONT JOHNSON                                                                 DEFENDANT

                                             ORDER

       Pending before the Court is the joint motion to continue hearing on appeal of the magistrate’s

detention order currently set for Thursday, May 8, 2014, at 9:30 a.m. The motion is GRANTED.

Document #190.

       The hearing on the motion for amendment to the order of detention is hereby rescheduled

for THURSDAY, MAY 8, 2014, at 1:30 P.M., in Courtroom #4-D, Richard Sheppard Arnold

United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas. Document #117.

       IT IS SO ORDERED this 24th day of April, 2014.




                                              _________________________________
                                              J. LEON HOLMES
                                              UNITED STATES DISTRICT JUDGE
